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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


   ALEKSEJ GUBAREV,
   XBT HOLDING S.A., and
   WEBZILLA, INC.                                                       Case No.
     Plaintiffs,
                                                                   0:17-cv-60426-UU
   v.

   BUZZFEED, INC. and
   BEN SMITH
     Defendants.


                      PLAINTIFFS’ MOTION IN LIMINE #3 TO
   (1) LIMIT THE INTRODUCTION OF TESTIMONY OR EVIDENCE CONCERNING
                 IRRELEVANT PORTIONS OF THE “DOSSIER” AND
               (2) PRECLUDE THE INTRODUCTION OF TESTIMONY
     OR EVIDENCE CONCERNING UNRELATED PUBLIC RELATIONS EFFORTS

                                             Introduction
          This trial is not about President Trump, despite Defendants’ fervent belief that it should
  be. It is not about James Comey or Paul Manafort or Carter Page or the existence (or non-
  existence) of salacious sex tapes. This trial is about a single defamatory paragraph published by
  Defendants that was contained in one of seventeen discrete and privately-produced memos that
  had been created as part of a paid opposition-research assignment for a political candidate, a
  compilation of which Defendants published on January 10, 2017.
          The memos were created over the span of eight months and only the last of those memos
  is at issue in this case. That memo, referred to herein as the “December Memo,” stated, in
  relevant part, that:
          [Redacted] reported that over the period March-September 2016 a company called
          XBT/Webzilla and its affiliates had been using botnets and porn traffic to transmit
          viruses, plant bugs, steal data and conduct “altering operations” against the
          Democratic Party leadership. Entities linked to one Aleksei GUBAROV [sic] were
          involved and he and another hacking expert, both recruited under duress by the
          FSB, Seva KAPSUGOVICH, were significant players in this operation. In Prague,
          COHEN agreed contingency plans for various scenarios to protect the operations,
          but in particular what was to be done in the event that Hillary CLINTON won the

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         presidency. It was important in this event that all cash payments owed were made
         quickly and discreetly and that cyber and that cyber and other operators were stood
         down/able to go effectively to ground to cover their traces.
         This paragraph from the December contains the entirety of the defamatory statements
  concerning Plaintiffs and is the sole topic of this lawsuit.
                                               Argument
         Federal Rule of Evidence 401 provides, in relevant part, that evidence is only “relevant if:
  (a) it has any tendency to make a fact more or less probable than it would be without the
  evidence; and (b) the fact is of consequence in determining the action.” Federal Rule of
  Evidence 403 provides that the “court may exclude relevant evidence if its probative value is
  substantially outweighed by a danger of one or more of the following: unfair prejudice,
  confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting
  cumulative evidence.” Bowe v. Pub. Storage, 2015 U.S. Dist. LEXIS 178180, at *12 (S.D. Fla.
  June 2, 2015).
  I.     Evidence and Testimony Regarding the Dossier as a Whole Should be Excluded
         Although it is certainly useful and necessary for the jury to have a basic understanding of
  the so-called “Dossier” as a whole, as well as an understanding of how Buzzfeed came to be in
  possession of the memos, there is no utility to allowing Defendants to transform this case into
  something it is not. Defendants (and their trial counsel) have each stated their intent to offer
  testimony and argument about the purported benefit to the public in having the Dossier as a
  whole in the public domain. In essence, Defendants’ argument is that, in retrospect, the public
  has benefitted from the Dossier having been published because it has supposedly given the
  public context for subsequent events such as the firing of James Comey and various
  congressional hearings. Allowing such testimony and argument, however, is dangerous both
  because it threatens to simply open the trial up to unlimited musings about whether the
  publication of the Dossier has been “good” generally or “bad” generally and distract from the
  actual question of whether publishing the December Memo without redaction constituted
  defamation. As such, this line of proposed argument is irrelevant and has the potential to
  mislead and confuse the jury.




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  II.    Evidence and Testimony Regarding Plaintiffs’ General Publicity Efforts Should be
         Excluded
         Defendants have also offered extensive evidence of Plaintiffs’ (largely unsuccessful)
  attempts to obtain general publicity for their business offerings. As is discussed in detail in
  Plaintiffs’ Motion and Reply for Summary Judgment on Defendants’ Public Figure Affirmative
  Defense and Plaintiffs’ Opposition to Defendants’ Motion for Summary Judgment on the same
  topic (all of which are incorporated herein by reference), there is simply no relevance to the
  present matter that Plaintiffs attempted to garner press coverage for their lines of servers.
                                               Conclusion
         For the reasons stated hereinabove, the Court should issue an order limiting Defendants’
  arguments and presentation of testimony concerning the so-called Dossier as a whole and
  precluding Defendants from offering testimony or evidence concerning Plaintiffs’ general efforts
  to obtain publicity for their businesses, products, or services.




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  Dated: October 29, 2018

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                                  CERTIFICATE OF SERVICE
         I hereby certify that a true and correct copy of the foregoing was served electronically via
  the CM/ECF electronic filing system on all counsel or parties of record on the service list below
  on October 29, 2018.


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